         Case 2:17-cr-00101-WFN             ECF No. 780        filed 03/27/18        PageID.2959 Page 1 of 1
O PS 8
(3/15)


                               UNITED STATES DISTRICT COURT
                                                                                                              FILED IN THE
                                                                                                          U.S. DISTRICT COURT
                                                              for                                   EASTERN DISTRICT OF WASHINGTON


                                            Eastern District of Washington                           Mar 27, 2018
                                                                                                         SEAN F. MCAVOY, CLERK


U.S.A. vs.                 Rangel, Victor Alexander                       Docket No.         0980 2:17CR00101-WFN-15

                                 Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Victor Alexander Rangel, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John
T. Rodgers, sitting in the Court at Spokane, Washington, on the 22nd day of June 2017, under the following conditions:

Standard Condition #1: Defendant shall not commit any offense in violation of federal, state or local law. Defendant shall
advise the supervising Pretrial Services Officer and defense counsel within one business day of any charge, arrest, or contact
with law enforcement. Defendant shall not work for the United States government or any federal or state law enforcement
agency, unless Defendant first notifies the supervising Pretrial Services Officer in the captioned matter.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #1: The defendant was cited for failure to wear a safety belt and operating a motor vehicle without insurance
on January 2, 2018.
                    PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME
                                                                            I declare under the penalty of perjury
                                                                            that the foregoing is true and correct.
                                                                            Executed on:       March 27, 2018
                                                                    by      s/Erik Carlson
                                                                            Erik Carlson
                                                                            U.S. Pretrial Services Officer

THE COURT ORDERS
[X ] No Action
[ ]  The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
[ ]  Other


                                                                              Signature of Judicial Officer

                                                                                March 27, 2018
                                                                              Date
